Case 1:22-cv-20707-JEM Document 54 Entered on FLSD Docket 09/22/2022 Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-MC-20707-JEM/BECERRA

  In re: Application Pursuant to
  28 U.S.C. § 1782 of

  FARHAD AZIMA
  5921 Ward Parkway
  Kansas City, Missouri 64113,

                        Petitioner,

  v.

  INSIGHT ANALYSIS AND RESEARCH, LLC
  13727 SW 152 Street, #715
  Miami, Florida 33177, and

  SDC-GADOT, LLC
  3200 Collins Avenue, Suite L2
  Miami Beach, Florida 33140,

                      Respondents.
  ______________________________________________/

             PETITIONER’S OPPOSITION TO RESPONDENTS’ MOTION FOR
                           RECONSIDERATION (D.E. 52)

         On August 23, 2022, this Court held an in-person hearing on three pending issues: (1)

  Petitioner’s amended application to take discovery from Amit Forlit, in addition to Insight and

  Gadot, Forlit’s Miami-based companies; (2) Petitioner’s motion to compel additional discovery,

  namely, documents and continued depositions, from Insight and Gadot, and Respondents’ cross-

  motion to terminate discovery; and (3) Petitioner’s motion for sanctions, as they relate to

  Respondents’ failure to produce documents. The Court reserved ruling, permitting Petitioner to

  “file a written motion to compel that explains the categories of documents that Petitioner believes

  are covered by the subpoena and why Petitioner is entitled to those documents,” and Respondents

  to “file a written response on the issues noted at the hearing [regarding D.E. 48].” D.E. 48 is

                                                  1
  130804825.1
Case 1:22-cv-20707-JEM Document 54 Entered on FLSD Docket 09/22/2022 Page 2 of 4




  Petitioner’s Opposition to Respondent’s Motion to Terminate Discovery. All briefing was slated

  to be complete by September 7, 2022. At the hearing, the Court advised Petitioner that it would

  not be granted leave to file a reply to Respondents’ opposition to D.E. 48.

         On September 7, 2022, instead of filing an opposition to D.E. 48, Respondents filed a

  motion for reconsideration of D.E.s 1 and 5 – the original application for discovery against Insight

  and Gadot and the Court’s order granting the relief sought therein. Petitioner opposes Respondents

  motion for several reasons already briefed, which Petitioner can further elaborate upon at the next

  hearing set in this matter.

         First, the application for and order granting discovery from Insight and Gadot was made in

  March 2022 – over six (6) months ago. Respondents’ motion – given all that has occurred in this

  case, including Rule 30(b)(6) deposition agreed to by Respondents – is untimely.

         Second, Respondents’ motion does not dispute that the Section 1782 application was

  properly granted in this case – because it cannot. Insight and Gadot are “found” in the Southern

  District of Florida, the evidence sought relates to and will be used in a foreign case, and the Intel

  factors are met. Respondents’ arguments regarding Mr. Page’s credibility and other Section 1782

  applications filed in support of the UK Proceedings are of no consequence for this Court’s

  consideration of D.E. 1. What is before this Court is a discovery proceeding – not a consideration

  of the facts for purposes of ultimate fact-finding. That is for the U.K. Court to do. Indeed, if

  nothing else, Respondents’ lengthy brief arguing that the discovery in this matter is irrelevant –

  relying, in part, on discovery ascertained in this matter, such as the Rule 30(b)(6) depositions of

  Insight and Gadot – show precisely why discovery was appropriate to gather here. For example,

  the passages Respondents quoted about Eitan Arusy demonstrate that he attended meetings with

  the UK Defendants to discuss the “investigations” that are the subject of the U.K. Proceedings.



                                                   2
  130804825.1
Case 1:22-cv-20707-JEM Document 54 Entered on FLSD Docket 09/22/2022 Page 3 of 4




  See D.E. 52 at 13. 1

         Last, Petitioner strongly disagrees with Respondents’ arguments that the discovery

  application was an attempt to “harass” Mr. Forlit. As is clear from the deposition transcripts, Mr.

  Forlit and his Florida-based companies were intimately involved in the “investigations” conducted

  by the defendants that are the subject of the U.K. Proceeding, and much of what Mr. Page said in

  his sworn statements was corroborated by Mr. Forlit (including for example that Mr. Forlit

  prepared regular reports and that Mr. Page paid Mr. Forlit $250,000 per month). At the end of the

  day, Mr. Forlit chose to incorporate two entities in Florida and funnel millions of dollars through

  them. As such, it is Mr. Forlit that has subjected the Respondents to proper discovery in this

  District and must lawfully comply with such subpoenas.

         For these reasons, and the original briefing in this matter, Petitioner respectfully requests

  that the Court deny Respondents’ motion at D.E. 52.


  Dated: September 21, 2022                     s/ Vanessa Singh Johannes
                                                Michael S. Pasano (FBN 475947)
                                                Email: MPasano@carltonfields.com
                                                Vanessa Singh Johannes (FBN 1028744)
                                                E-mail: VJohannes@carltonfields.com
                                                CARLTON FIELDS P.A.
                                                700 N.W. 1st Avenue, Suite 1200
                                                Miami, Florida 33136-4118
                                                Telephone: (305) 530-0050

                                                s/ Ian Herbert
                                                Kirby D. Behre (admitted pro hac vice)
                                                Timothy P. O’Toole (admitted pro hac vice)
                                                Ian A. Herbert (admitted pro hac vice)
                                                Calvin Lee (admitted pro hac vice)
                                                MILLER & CHEVALIER CHARTERED
                                                900 16th Street, NW

  1Notably, though Mr. Forlit claims to have no documents, when asked why Mr. Arusy was paying
  Respondents, Mr. Forlit said, “I have to go back to the document to check.” See D.E. 52 at 14.


                                                   3
  130804825.1
Case 1:22-cv-20707-JEM Document 54 Entered on FLSD Docket 09/22/2022 Page 4 of 4




                                               Washington, D.C. 20006
                                               Telephone: (202) 626-5800
                                               Fax: (202) 626-5801
                                               Email: kbehre@milchev.com

                                               Counsel for Petitioner

                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 22, 2022, a true and correct copy of the foregoing

  document was filed via CM/ECF and served on counsel for the Respondents named in this matter,

  Christopher S. Salivar and Elan I. Baret, via such means.



                                                       s/ Vanessa Singh Johannes
                                                        Vanessa S. Johannes




                                                  4
  130804825.1
